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                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

CALMAT CO.,

       Plaintiff,
v.                                                         No.: 1:16-cv-00026-KG-JHR

OLD CASTLE PRECAST, Inc.,

       Defendant.

                    AMENDED ORDER FOR DISBURSEMENT OF FUNDS

       On December 4, 2017, the Court granted summary Judgment in favor of Defendant

Oldcastle Precast, Inc. (Oldcastle) (Doc. 190). On July 1, 2019, the Court entered its Order for

Disbursement of Funds and subsequently issued payment in the amount of the principle,

$57,310.96, plus accrued interest of $2,020.34 and the payment was mailed to Oldcastle. For

unknown reasons, the check was never cashed and was cancelled by the Treasury. Counsel for

Oldcastle has requested the funds be reissued to the Hatch Law Firm’s Interest on Lawyers Trust

Account (IOLTA) and sent to Hatch Law Firm, LLC and the Court has granted this request. The

Court now orders the disbursement of interpleader funds to Hatch Law Firm’s IOLTA, Payee.

       The Court FINDS:

           1. Name and EIN of Payee:        Hatch Law Firm’s IOLTA, EIN

           2. Address of Payee:             P.O. Box 65885, Albuquerque, NM 87193-5885.

           3. Amount of Principal:          $57,310.96.

           4. Amount of Interest:           $ 2,020.34, plus any additional accrued interest.

       The Court ORDERS that the Clerk of the Court disburse and release to Hatch Law Firm’s

IOLTA a check in the amount of the principle, $57, 310.96, plus accrued interest.



                                            UNITED STATES DISTRICT JUDGE
